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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                             FORT SMITH DIVISION

NATHAN SPARKS                                                                  PLAINTIFF

v.                                No. 2:21-CV-02085

STATE FARM FIRE AND
CASUALTY COMPANY                                                             DEFENDANT

                                     JUDGMENT

     Pursuant to the order entered in this case on this date, this case is DISMISSED WITHOUT

PREJUDICE.

     IT IS SO ADJUDGED this 3rd day of November, 2021.


                                                       /s/P. K. Holmes, ΙΙΙ
                                                       P.K. HOLMES, III
                                                       U.S. DISTRICT JUDGE
